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     LIMITED and Q CYBER TECHNOLOGIES LIMITED
 7
                                UNITED STATES DISTRICT COURT
 8
                               NORTHERN DISTRICT OF CALIFORNIA
 9
                                      OAKLAND DIVISION
10

11   WHATSAPP INC., a Delaware corporation,      Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                                DEFENDANTS NSO GROUP
                                                 TECHNOLOGIES LIMITED AND Q
13               Plaintiffs,                     CYBER TECHNOLOGIES LIMITED’S
                                                 ADMINISTRATIVE MOTION TO
14         v.                                    CONTINUE BRIEFING DEADLINES
                                                 AND HEARING DATE ON PLAINTIFFS’
15   NSO GROUP TECHNOLOGIES LIMITED              MOTION FOR PERMANENT
     and Q CYBER TECHNOLOGIES LIMITED,           INJUNCTION (ECF NO. 558)
16
                 Defendants.                     Judge: Hon. Phyllis J. Hamilton
17
                                                 Action Filed: 10/29/2019
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 1           Monday, Plaintiffs filed a Motion for Permanent Injunction (“Motion,” Dkt. No. 558),

 2 despite the fact no trial or other evidentiary hearing has been held. Defendants intend to oppose

 3 the motion, and the law is clear that the Court cannot enter a permanent injunction without first

 4 holding an evidentiary hearing. Defendants submit that an evidentiary hearing on Plaintiffs’

 5 requested equitable remedies should be held concurrently with or following the April 28 trial. That

 6 would permit the jury to decide remaining legal issues before the Court decides any equitable

 7 issues.        From a practical perspective, moreover, Defendants’ witnesses and counsel – and

 8 presumably the Court – cannot be prepared to conduct an evidentiary hearing beginning on April
 9 10 (the noticed hearing date ). Defendants thus request that the Court set the remaining briefing

10 schedule following the evidentiary hearing, and oral argument after briefing has been completed.

11           I.        An Evidentiary Hearing Is a Prerequisite to Entry of a Permanent Injunction

12           It is well-settled throughout the federal courts, including the Ninth Circuit, that “the entry

13 or continuation of an injunction requires a hearing.” Charlton v. Estate of Charlton, 841 F.2d 988

14 (9th Cir. 1988). “Other than a temporary restraining order, no injunctive relief may be entered

15 without a hearing. A hearing on the merits—i.e., a trial on liability—does not substitute for a

16 relief-specific evidentiary hearing unless the matter of relief was part of the trial on liability, or

17 unless there are no disputed factual issues regarding the matter of relief.” United States v.

18 Microsoft, 253 F.3d 34, 101 (D.C. Cir. 2001) (citations omitted); see also Moltan Co. v. Eagle–
19 Picher Indus., 55 F.3d 1171, 1175 (6th Cir. 1995) (“An evidentiary hearing is ordinarily required

20 prior to the issuance of a permanent injunction.”)

21           In a conference of counsel, when asked Plaintiffs’ position why this motion is procedurally

22 proper, Plaintiffs’ only response was that the Motion could be brought prior to an evidentiary

23 presentation because the Court had granted summary judgment on liability. (Craig Decl. ¶ 2.) But

24 even a summary adjudication of liability “does not substitute for a relief-specific evidentiary

25 hearing.” Microsoft, 253 F.3d at 101. Plaintiffs’ Motion does not address in any respect the

26 procedural propriety of the Court entering permanent injunctive prior to, and without, an

27 evidentiary hearing. Entry of such an injunction would be contrary to law.

28           The law is plain that an evidentiary hearing is required, unless the facts relating to entry of
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 1   an injunction are undisputed. While the Court determined for purposes of summary judgment that

 2   there were no disputed issues of fact related to Defendants’ retroactive liability—whether

 3   Defendants violated the CFAA, CDAFA and WhatsApp’s Terms of Service in the past—that

 4   ruling does not mean there are no disputed issues fact relating to Plaintiffs’ requested prospective

 5   injunction. Defendants dispute virtually every “fact” in Plaintiffs’ Motion. As examples only:

 6          •       Whether WhatsApp made changes in 2018 to block NSO’s access to Plaintiffs’

 7                  servers and to permanently disable the Heaven installation vector (Mot. 4:14-18)

 8                  (Defendants proffer that WhatsApp witnesses will testify the 2018 changes were

 9                  made completely independently of Pegasus and without knowledge of Pegasus);

10          •       Whether Defendants have (or intend to build) any installation vector for Pegasus

11                  that uses WhatsApp’s technology (Defendants’ CEO testified that the answer is

12                  ‘no,’ see Dkt. No. 396-5, Akro Decl. Exh. H at 51:23-52:2);

13          •       Whether Defendants operate Pegasus (Defendants proffer that NSO witnesses will

14                  testify that Defendants do not operate Pegasus);

15          •       Who the users of Pegasus are and the purposes for which Pegasus is used

16                  (Defendants proffer that the users of Pegasus are exclusively agencies of sovereign

17                  governments (such as the FBI) who contract to use Pegasus solely to investigate

18                  and prevent terrorism and serious crime);

19          •       Whether Plaintiffs knew that the users of Pegasus were sovereign governments (the

20                  answer is yes, see Dkt. No. 396-5, Akro. Decl. Exhs. S-V; Glick Tr. 61:3-4);

21          •       Whether the targets of Pegasus identified in the Complaint included terrorists and

22                  criminals (Defendants proffer that the Pegasus “targets” users identified by Citizen

23                  Lab as “civil society” included terrorists (including an Al-Qaeda terrorist) and

24                  criminals, and that Plaintiffs were aware of this but notified those targets anyway);

25          •       Whether statements that Omri Lavie (not an officer of either Defendant) allegedly

26                  made on a podcast, are attributable to Defendants or represent their views;

27          •       Whether Defendants were sanctioned for not providing information about their

28                  activities beyond May 2020 (Mot. 4 n.3) (they were not); and
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 1          •       Whether Defendants “blocked from discovery” information about NSO’s

 2                  relationship with its customers (Mot. 12 n.5) (the Court denied Plaintiffs’ motion

 3                  to compel on this subject).

 4          Disputes of fact about Defendants’ post-complaint conduct bear directly on the question of

 5   whether Plaintiffs face a risk of future harm and whether Defendants’ ongoing conduct, which is

 6   an element in the permanent injunction analysis (see Motion at 10-12). Disputes of fact about

 7   whether Pegasus operators were exclusively sovereign governments using Pegasus to investigate

 8   and prevent terrorism and serious crime weigh heavily in determining whether the overly broad

 9   injunction Plaintiffs request is in the public interest. The Plaintiffs’ proposed injunction terms are

10   also facially overbroad and are not tailored to the facts of the case. As just one example, Plaintiffs’

11   proposed injunction relates to numerous technologies and platforms never at issue in the case (e.g.,

12   Facebook, Instagram, Messenger, Meta AI, Threads, Meta Horizon Platforms). Because there are

13   many disputes of fact regarding the claims in Plaintiffs’ Motion and the scope of their proposed

14   injunction—the “matter of relief”—an evidentiary hearing is a prerequisite to entry of a permanent

15   injunction. Microsoft, 253 F.3d at 101.

16          II.     Plaintiffs Have Shown No Urgency in Seeking an Injunction and Will Not Be

17                  Prejudiced by a Short Continuance

18          Diligence is a factor in the granting of equitable relief, and Plaintiffs’ lack of diligence

19   should factor into Plaintiffs’ request to obtain a permanent injunction prior to the presentation of

20   evidence in a trial or hearing. The events described in the Complaint took place in April and May

21   2019. In the next almost six years (including more than five years of litigation), Plaintiffs never

22   sought a preliminary injunction. Even after the Court granted partial summary judgment on

23   December 19, 2024, Plaintiffs, with all their resources, waited over nine weeks to file this Motion.

24   Considering Plaintiffs’ extreme lack of urgency, the Court should not rush to hold a hearing on a

25   permanent injunction Motion without first holding an evidentiary hearing, even if doing so were

26   not directly proscribed by the law of the Ninth Circuit and other circuits. Plaintiffs will suffer no

27   prejudice if the Court follows the universal procedure of waiting until after the presentation of

28   witness testimony and other evidence before deciding whether to enter a permanent injunction and
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 1   the scope of any such injunction. In contrast, NSO would be severely prejudiced by a rushed

 2   hearing on a motion that could affect the future of its business.

 3           If the trial and evidentiary hearing on equitable relief were to conclude on or about May 5,

 4   the Court could order the remaining injunction briefing to be filed on May 15 and 22, and could

 5   hear argument from counsel thereafter. That minimal delay, which would permit the Court to hold

 6   the required evidentiary hearing concurrently with or just following trial, will prejudice no one.

 7           III.    Legal Issues Should Be Decided Before Equitable Ones

 8           It is black-letter law that where there are common issues of fact, “legal claims involved in

 9   the action must be determined prior to any final court determination of [] equitable claims.” Dairy

10   Queen v. Wood, 369 U.S. 469, 479 (1962). Here, there are many common issues of fact between

11   Plaintiffs’ legal claims for damages and punitive damages and their equitable claims for

12   disgorgement and injunctive relief. For example, a finding of malice, oppression, or fraud is

13   required for the punitive damages Plaintiffs allege. The same evidence bears on whether an

14   injunction is in the public interest or whether the balance of hardships supports an injunction,

15 particularly given the fact that Defendants have long abandoned the use of any version of Pegasus

16 that involves exploiting vulnerabilities in the WhatsApp code base. The degree to which Plaintiffs

17 hinder or cooperate with law enforcement and law enforcement’s need for tools like Pegasus given

18 the ubiquity of end-to-end encryption is also relevant to both analyses. There are likewise issues
19   common to the questions of legal damages and equitable disgorgement. Because legal issues must

20   be determined first, the Court should not hear the Motion before all legal issues have been decided.

21           IV.     Holding the Evidentiary Hearing During or After Trial Is Most Efficient

22           It would be most efficient to hold the required evidentiary hearing simultaneously with, or

23   immediately following, the trial. Witnesses from both sides will be traveling from Israel and across

24   the United States to testify in Oakland the week of April 28. The testimony provided during the

25   jury trial is likely to overlap in substantial part with the evidence relating to Plaintiffs’ requests for

26   equitable remedies such as disgorgement and injunctive relief. The Court can, and should, make

27   determinations concerning equitable relief after witness testimony—the credibility of which the

28   Court would then evaluate—rather than relying on documents, declarations, and snippets of
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 1   deposition testimony taken out of context.

 2          Finally, if Plaintiffs suggest an evidentiary hearing should be held beginning April 10 (or

 3   a date before April 28), that suggestion is inefficient and unworkable. As previously noted, the

 4   religious holidays of Passover, Good Friday, and Easter will be observed between the evening of

 5   April 11 and April 20, 2025. Israeli witnesses would be unable to appear at an evidentiary hearing

 6 to begin April 10. Even were that not the case, witnesses should not be asked to travel 16+ hours

 7 in each direction more than once to testify. Moreover, Defendants’ counsel would suffer hardship

 8 preparing for a separate and unexpected evidentiary proceeding while also preparing for the April
 9   10 pretrial conference and the April 28 trial. Indeed, at the pretrial conference (scheduled for the

10   same day for which Plaintiffs’ noticed their motion), the parties and the Court will already be

11   addressing at least six Daubert motions, 20 motions in limine, and issues about the conduct of the

12   April 28 trial – including whether Plaintiffs’ equitable request for disgorgement is proper and if

13   so, whether that request for relief is tried to the jury (as Plaintiffs seem to believe) or to the Court

14   (as is the case with disgorgement and other claims of entitlement to equitable relief. Adding to

15   this an additional oral argument (and possibly an evidentiary hearing) on Plaintiffs’ Motion for

16   permanent injunction would presumably exceed the resources the Court has available on that day.

17          V.      Conclusion

18          Defendants have a right to an evidentiary hearing because virtually all facts underlying

19   Plaintiffs’ Motion are disputed. Plaintiffs have demonstrated no urgency seeking injunctive relief,

20   and a delay until after the trial will not be prejudicial. Moreover, it is black-letter law that legal

21   issues should be tried before equitable ones, and holding an April 10 evidentiary hearing would be

22   extremely inefficient. The Court should set a briefing schedule to follow a trial/evidentiary hearing

23   starting April 28, and should set argument on Plaintiffs’ Motion on a date thereafter.

24   DATED: February 26, 2025                           KING & SPALDING LLP
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